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                                  VERBATIM TRANSLATION

Participants:
        MO Hailong
        LI Shaoming

Abbreviations:
       Italics                                English




Hailong says:
    Good morning, Dr. LI [STC: 2621).

Shaoming says:
   How are you?

Hailong sends [Excel documentJ.

Hailong says:
    A summarized list.

Transfer   of "Number.xls" is complete.

Shaoming says:
   It is very well prepared! Thank you!

Hailong says:
    Will do my best to make sure you can receive in32-35 next week.

Shaoming says:
   Good.

Hailong says:
    The objective is clear. Seek out the best that don't consist much of transgenic. For example,
the basic varieties from elite varieties

Shaoming says:
   Thank you for the hard work.

Hailong says:
    The basic varieties from elite varieties have similar performance and they are cheaper by a
    few tens of dollars.


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Shaoming says:
   You are a professional guy.

Hailong says:
    But basic varieties should at least carry RR2. I expect good results from 29,30 and 32-35.

Shaoming says:
   They should

Hailong says:
    Strive to purchase 0 elite-level basic varieties that carry only RR2.




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Shaoming says:
    That's what it means to be precise.

Hailong says:
    Thank you.

Shaoming says:
   Pioneer's prowess has shaken the Chinese government. There is a serious need for a national
   hero.

Hailong says:
    All of Pioneer's varieties have performed exceptionally in every State and every region. Most
    ranked at the top in terms of crop yield volume. Due to space limitations I will not list in
    detail. What follows may break from the list (will refer to it as much as possible), as varieties
    are selected for purchase based on their performance data combined with local conditions.

Shaoming says:
   Okay.

Hailong says:
    Please inform the receiving personnel to pay attention to the paper slip(s) with serial numbers
    inside the bag. Try to assure data consistency as much as possible.

Shaoming says:
   Okay.




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